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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


REVELYST OPERATIONS LLC,

        Plaintiff,                                   Case No.: 1:25-cv-04695

v.                                                   District Judge John J. Tharp Jr.

THE INDIVIDUALS, CORPORATIONS,                       Magistrate Judge Keri L. Holleb Hotaling
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

        Defendants.




                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Revelyst

Operations LLC hereby dismisses this action with prejudice as to the defendant(s) identified

below. The parties shall bear their own attorney’s fees and costs.


     No     Seller Name           Seller ID
     8      donewayico99          https://www.ebay.com/str/donewayico99?_tab=1
     40     ha-cn14               https://www.ebay.com/str/hacn14?_tab=1
     43     longlived28           https://www.ebay.com/str/longlived28?_tab=1


DATED: May 30, 2025                                  Respectfully submitted,

                                                     /s/ Peter Krusiewicz
                                                     Matthew A. Werber (Ill. # 6287658)
                                                     mwerber@nixonpeabody.com
                                                     Peter Krusiewicz (Ill. # 6342444)
                                                     pkrusiewicz@nixonpeabody.com
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